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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------X
FILOGONIO MIRANDA, INDIVIDUALLY AND
ON BEHALF OF OTHERS SIMILARLY SITUATED,

                                 Plaintiff,
                                                    17 Civ. 07997 (GBD)
        --against --


BRICKLANE CURRY HOUSE TOO INC. (D/B/A
BRICKLANE CURRY HOUSE), BLCH I LLC
(D/B/A BRICK LANE CURRY HOUSE), AND
SATINDER SHARMA,

                          Defendants.
------------------------------------------------X




                          MEMORANDUM OF LAW IN SUPPORT OF THE
                            DEFENDANTS’ MOTION TO DISMISS
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       Defendants Bricklane Curry House Too Inc., BLCH I LLC, and Satinder Sharma, submit

this memorandum of law in support to their motion to dismiss Plaintiffs’ claims pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure. As explained below, Plaintiff has not alleged

any facts that show any of these defendants were his “joint employers” as the term is used by the

Fair Labor Standards Act (“FLSA”) or the New York Labor Law (“NYLL”).

I.     Plaintiffs Must Plead Factual Allegations that Give Rise to a Plausible Claim

       To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain factual

allegations that, accepted as true, are sufficient “to state a claim to relief that is plausible on its

face”; “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Carlin v. Davidson Fink LLP, 852 F.3d 207, 212 (2d Cir. 2017)

(quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citations omitted)).

       When considering a motion to dismiss under Rule 12(b)(6), a court should “draw all

reasonable inferences in [the plaintiffs’] favor, assume all well-pleaded factual allegations to be

true, and determine whether they plausibly give rise to an entitlement to relief.” Faber v. Metro.

Life Ins. Co., 648 F.3d 98, 104 (2d Cir. 2011) (quotation marks and citation omitted) (quoting

Selevan v. N.Y. Thruway Auth., 584 F.3d 82, 88 (2d Cir. 2009))., “To survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as true, to `state a claim to

relief that is plausible on its face.’” Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)).

       Thus, to assess whether a complaint states a plausible claim of relief, a court (1) first

identifies the well-pleaded factual allegations by discarding the pleadings that are no more than

conclusions and (2) then determines whether the remaining well-pleaded factual allegations

plausibly give rise to an entitlement of relief. See id.




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II.    Definition of Employer Under FLSA and NYLL

       The FLSA defines “employer” as “any person acting directly or indirectly in the interest

of an employer in relation to an employee.”            29 U.S.C. § 203(d).   An individual may

simultaneously have multiple “employers” for the purposes of the FLSA, in which event, “all

joint employers are responsible, both individually and jointly, for compliance with all of the

applicable provisions of the [FLSA].” 29 C.F.R. § 791.2(a).

       “[W]hether an employer-employee relationship exists for purposes of the FLSA should

be grounded in `economic reality rather than technical concepts.’” Barfield v. N.Y.C. Health &

Hosps. Corp., 537 F.3d 132, 141 (2d Cir. 2008) (quoting Goldberg v. Whitaker House Coop.,

Inc., 366 U.S. 28, 33 (1961)). Courts determine whether defendants are plaintiffs’ joint

employers based on “the circumstances of the whole activity,” Rutherford Food Corp. v.

McComb, 331 U.S. 722, 730 (1947), viewed in light of “economic reality,” Goldberg, 366 U.S.

at 33. That is, employment is “to be determined on a case-by-case basis by review of the totality

of the circumstances.” Barfield, 537 F.3d at 141-42.

       “When it comes to ‘employer’ status under the FLSA, control is key.” Lopez v. Acme Am.

Envtl. Co., No. 12 Civ. 511, 2012 WL 6062501, at *3 (S.D.N.Y. Dec. 6, 2012); see also Herman,

172 F.3d at 135 (“[C]ontrol of employees is central to deciding whether appellant should be

deemed an employer.”). In assessing economic reality, the Second Circuit has articulated two

tests for evaluating whether an employment relationship existed for the purposes of the FLSA:

one relating to formal control and the other to functional control.

       The formal control test inquires “whether the alleged employer (1) had the power to hire

and fire the employees, (2) supervised and controlled employee work schedules or conditions of

employment, (3) determined the rate and method of payment, and (4) maintained employment




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records.” Carter, 735 F.2d at 12 (quoting Bonnette v. Cal. Health & Welfare Agency, 704 F.2d

1465, 1470 (9th Cir. 1983)).

       The functional control test relies upon a number of factors pertinent to determining

whether a person or entity, even if lacking formal control, exercised “functional control” over an

employee. In Zheng v. Liberty Apparel Co., 355 F.3d 61, 71-72 (2d Cir. 2003), which involved

an employer and its subcontractors, the Circuit identified the following non-exclusive factors:

               (1) whether [the alleged employers’] premises and equipment were used
               for the plaintiffs’ work; (2) whether the [subcontractors] had a business
               that could or did shift as a unit from one putative joint employer to
               another; (3) the extent to which plaintiffs performed a discrete line job that
               was integral to [the alleged employers’] process of production; (4) whether
               responsibility under the contracts could pass from one subcontractor to
               another without material changes; (5) the degree to which [the alleged
               employers] or their agents supervised plaintiffs’ work; and (6) whether
               plaintiffs worked exclusively or predominantly for [the alleged
               employers].

Id.

       The standard for employer status under NYLL is nearly identical to that of the FLSA.

Compare NYLL § 190(3) (“`Employer’ includes any person, corporation, limited liability

company, or association employing any individual in any occupation, industry, trade, business or

service.”), with 29 U.S.C. § 203(d) (“`Employer’ includes any person acting directly or indirectly

in the interest of an employer in relation to an employee . . . .”). Courts in this District regularly

apply the same tests to determine whether entities are joint employers under the NYLL and the

FLSA. See, e.g., Spicer v. Pier Sixty LLC, 269 F.R.D. 321, 335 n. 13 (S.D.N.Y. 2010); ˆGlatt v.

Fox Searchlight Pictures Inc., 293 F.R.D. 516, 526-27 (S.D.N.Y. 2013) (collecting cases);

Irizarry v. Catsimatidis, 722 F.3d 99, 117 (2d Cir. 2013)) (“To be sure, the New York Court of

Appeals has not yet resolved whether NYLL’s standard for employer status is coextensive with

the FLSA’s, but there is no case law to the contrary.”).



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III.     Plaintiffs’ Allegations Are Insufficient

         Plaintiff alleges that he was the former employee of one individual and two business

entities (one LLC and one corporation) who all worked together as his “joint employer” Compl.

¶¶1, 28-38. Indeed, Plaintiff seeks to bring a collective action, thus alleging that this individual

and these two entities were the joint employers of numerous other similarly situated individuals.

         But there are no well-pleaded factual allegations to support these claims. Plaintiff offers

labels, conclusions and a formulaic recitation of the elements of his purported causes of action.

Courts have held that such allegations are insufficient to plausibly show that a group of

defendants (in this case, a single individual, one LLC and one corporation) were the joint

employers of plaintiff for purposes of the FLSA or NYLL. See Wolman v. Catholic Health Sys.

of Long Island, Inc., 853 F. Supp. 2d 290, 299 (E.D.N.Y. 2012). Courts reject claims that “lump

[multiple defendants] together as one in the allegations.” Bravo v. Eastpoint Int’l, Inc., No. 99

Civ. 9474, 2001 WL 314622, at *2 (S.D.N.Y. Mar. 30, 2001).

         Merely reciting the elements of a joint employer arrangement—which is what Plaintiff

does here—is insufficient to plausibly allege joint employer status. See Cannon v. Douglas

Elliman, LLC, No. 06 Civ. 7092 (NRB), 2007 WL 4358456, at *5 (S.D.N.Y. Dec. 10, 2007)).

“Allegations of common ownership and common purpose, without more, do not answer the

fundamental question of whether each corporate entity controlled Plaintiffs as employees.”

Lopez v. Acme Am. Envtl. Co., No. 12 Civ. 511, 2012 WL 6062501, at *4 (S.D.N.Y. Dec. 6,

2012).

         Moreover, there is not a single fact alleged that would allow this Court to “to plausibly

infer” that Mr. Sharma exercised formal or operational control over plaintiffs’ employment

conditions. See Diaz v. Consortium for Worker Educ., Inc., No. 10 Civ. 01848, 2010 WL




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3910280, at *4 (S.D.N.Y. Sept. 28, 2010) (dismissing FLSA claims against defendants which

plaintiffs did not allege had “any direct role in managing the plaintiffs, hiring or firing the

plaintiffs, determining their work hours, or maintaining employment records”).

       The failure to plead any facts that could give rise to a plausible claim that Mr. Sharma

was Plaintiff’s employer is particularly glaring given that the same counsel for Plaintiff has sued

him multiple times and recently had a trial in which he was determine to not be the Plaintiffs’

employer under the FLSA and NYLL. In Tapia v. Blch 3rd Ave. LLC, No. 14 Civ. 8529 (AJN),

2016 WL 4581341 (S.D.N.Y. Sept. 1, 2016), District Judge Allison Nathan held that:

               [Mr.] Sharma did not exercise operational control over Plaintiffs, and thus
               was not their employer. He did not hire and fire employees. He was not
               involved in setting schedules or other conditions of employment. For
               instance, there is no evidence that Sharma was involved in disciplining
               employees or monitoring attendance. He was not involved in setting
               compensation or making payments. Nor was he directly responsible for
               maintaining employment records, though he did review them at the end of
               each week . . . . The Court is persuaded by these authorities, and
               determines that Sharma’s role in reviewing payment records is not
               sufficient to change the outcome of this analysis. Plaintiffs have therefore
               failed to show by a preponderance of the evidence that Sharma was their
               employer within the meaning of the FLSA and NYLL.

Id. at *5 (citations omitted). After conducting discovery multiple times in various cases, and

now having had a bench trial before Judge Nathan, counsel for Plaintiff in this case should well

aware of the role the Mr. Sharma has with respect to his restaurants.

       If Plaintiff is unable to allege facts that give rise to a plausible claim that Mr. Sharma is

an employer, or that two business entities are operating so as to be a joint employer, the

complaint should be dismissed.




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IV.    Conclusion

       To survive a motion to dismiss under Rule 12(b)(6), a complaint must plead “enough

facts to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. Plaintiff

has failed to allege any facts – as opposed to bald legal conclusions – with respect to the

Defendants. For this reason, the claims against the Defendants should be dismissed.


Date: November 19, 2017
                                                             Respectfully submitted,

                                                             /s/ Brian Lehman
                                                             Brian Lehman
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                                                             244 5th Ave., Suite B258
                                                             New York, NY 10001
                                                             Attorney for Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 19, 2017, I electronically filed the foregoing with the

Clerk of the Court for the Southern District of New York by using the CM/ECF system. I certify

that all participants in the case are registered CM/ECF users and that service will be

accomplished by the CM/ECF system.




                                                                  /s/ Brian Lehman




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